United States Courts

IN THE UNITED STATES BANKRUPTCY COURT Umer Distict of Texas
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION APR 15 2025
In re: Previously Chapter | cs eof Cour
SMILEDIRECTCLUB, INC., ef al.,' Case No. 23-90786 (CML)
Debtors. (Jointly Administered) :

NOTICE OF WITHDRAWAL AS COUNSEL

PLEASE TAKE NOTICE THAT Rebecca Blake Chaikin hereby withdraws her
appearance as counsel for the above-captioned debtors and former debtors in possession
(collectively, the “Debtors”). Ms. Chaikin requests that service upon her of all future service and
notices and pleadings, electronically or otherwise, be discontinued as of the date hereof, and further
requests that she be removed from the electronic (ECF) service list as counsel. The contact
information is as follows:

Rebecca Blake Chaikin

JACKSON WALKER LLP

1401 McKinney St. Suite 1900

Houston, TX 77010

Telephone: 713-752-4413
Email: rchaikin@jw.com

This notice is with respect to Rebecca Blake Chaikin only, and is not intended to affect
service independently requested by Jackson Walker LLP, Matthew D. Cavenaugh, Genevieve M.

Graham, or Emily Meraia or their continued listing in the service list for these chapter 7 cases.

A complete list of each of the Debtors in these chapter 7 cases may be obtained on the website of the Debtors’
former claims and noticing agent at https://restructuring.ra.kroll.com/SmileDirectClub. The location of Debtor
SmileDirectClub, Inc.’s principal place of business and the Debtors’ service address in these chapter 7 cases is
1530 Antioch Pike, Antioch, Tennessee 37013.

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Houston, Texas
Dated: October 31, 2024

/s/_ Matthew D. Cavenaugh

JACKSON WALKER LLP N

Matthew D. Cavenaugh (TX Bar jo. 24062656)
Genevieve M. Graham (TX Bar No. 24085340)
Emily Meraia (TX Bar No. 24129307)

1401 McKinney Street, Suite 1900:

Houston, TX 77010

Telephone: (713) 752-4200

Facsimile: (713) 752-4221

Email: mcavenaugh@jw.com

Email: geraham@jw.com

Email: emeraia@jw.com

Counsel for the Former Debtors in Possession

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Certificate of Service

I certify that on October 31, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas. |

/s/ Matthew D. Cavenaugh

Matthew D. Cavenaugh

Case 23-90786 Document 1052 Filed in TXSB on 04/15/25 Page A.of 5

Nathan Ochsner
Clerk of Court
P. O. Box 61010 |
Houston, TX 77208 United States Courts
oun Patict of Texas
March 24, 2025 | LED
APRIS 2025
Mr. Ochsner,

Nathan Ochsner, Clerk of Court

Per my discussion today with the CM/ECF support desk, I am enclosing the notices of
withdrawal my prior firm filed in four cases that were pending when I left the firm on October 31,
2024.

I understand that an additional step needs to be taken by your staff to formally terminate
my appearances in these cases.

As I am currently receiving return-to-sender BNC mailings (by the bucket-load!) at my
home (due to user error on my part when I updated my PACER account, I am sure) I would really
appreciate updating the CM/ECF records so that I am no longer showing as an active representative
of the debtors in those cases. .

Importantly, soon after leaving my prior firm, I began clerking for Judge Michael B. Slade
in the Northern District of Illinois, therefore it is particularly important that the withdrawals be
effective as of October 31, 2024. As you can imagine, it would not be good if it looked like my
representation continued while my clerkship began. (Many apologies if that creates additional
difficulties in effectuating the terminations.)

Please do not hesitate to reach out if you need anything further from me. I can be reached
via cell (917-596-3358) or my personal email (rbctwo@gmail.com).

Very much appreciated,

Case 23-90786 Document 1052 Filed in TXSB on 04/15/25 Page 5 of 5

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS
219 SOUTH DEARBORN STREET
CHICAGO, ILLINOIS 60604

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